900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kathryn M. O'BRIEN, Plaintiff-Appellant,v.Anne GRAHAM, Acting Chairman, U.S. Consumer Product SafetyCommission of D.C. Agency, Defendant-Appellee,andRichard THORNBURGH, Attorney General of the United States;JAY B. STEPHENS, U.S. Attorney for the District ofColumbia, Defendants.
    No. 90-3002.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided March 14, 1990.Rehearing Denied April 17, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Joseph C. Howard, District Judge.  (C/A No. 89-1860-JH).
      Kathryn M. O'Brien, appellant pro se.
      Martin Stanley Himeles, Jr., Office of the United States Attorney, Baltimore, for appellee.
      D.Md.
      DISMISSED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Kathryn M. O'Brien noted this appeal outside the 60-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    